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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


 ARLENE DEVROY, individually and on
 behalf of all others similarly situated,        Case No. ______________
                                                           2:21-cv-11815


                     Plaintiff,                  CLASS ACTION COMPLAINT
                                                 JURY TRIAL DEMANDED
       v.

 ANNIE'S PUBLISHING, LLC,


                     Defendant.

      Plaintiff Arlene Devroy (“Plaintiff”), individually and on behalf of herself and

all others similarly situated, by and through her attorneys, makes the following

allegations pursuant to the investigation of her counsel and based upon information

and belief, except as to allegations specifically pertaining to herself and her counsel,

which are based on personal knowledge.

                                  INTRODUCTION

      1.      Defendant Annie's Publishing, LLC (“AP”) rented, exchanged, and/or

otherwise disclosed detailed information about Plaintiff’s Crochet! magazine

subscription to data aggregators, data appenders, data cooperatives, and list brokers,

among others, which in turn disclosed her information to aggressive advertisers,

political organizations, and non-profit companies. As a result, Plaintiff has received

a barrage of unwanted junk mail.         By renting, exchanging, and/or otherwise
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disclosing Plaintiff’s Private Reading Information (defined below) during the

relevant pre-July 30, 2016 time period 1, AP violated Michigan’s Preservation of

Personal Privacy Act, H.B. 5331, 84th Leg. Reg. Sess., P.A. No. 378, §§ 1-4 (Mich.

1988), id. § 5, added by H.B. 4694, 85th Leg. Reg. Sess., P.A. No. 206, § 1 (Mich.

1989) (the “PPPA”). 2

        2.     Documented evidence confirms these facts. For example, a list broker,

NextMark, Inc. (“NextMark”), offers to provide renters access to the mailing list

titled “Annie's - Buyer and Subscriber Masterfile Mailing List”, which contains the

Private Reading Information of 3,123,903 of AP’s active U.S. subscribers at a base

price of “$110.00/M [per thousand],” (i.e., 11 cents apiece), as shown in the

screenshot below:




1
        The statutory period for this action is six years. See M.C.L. § 600.5813.
2
       In May 2016, the Michigan legislature amended the PPPA. See S.B. 490, 98th
Leg., Reg. Sess., P.A. No. 92 (Mich. 2016) (codified at M.C.L. § 445.1711, et seq.).
The May 2016 amendment to the PPPA, which became effective on July 31, 2016,
does not apply retroactively to claims that accrued prior to its July 31, 2016 effective
date. See Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 439-41 (S.D.N.Y.
2016) (holding that “the amendment to the [PP]PA does not apply to Plaintiffs’
claims, and the Court will assess the sufficiency of those claims under the law as it
was when Plaintiffs’ claims accrued.”) (citing Landgraf v. USI Film Prods., 511 U.S.
224, 286 (1994)). Because the claims alleged herein accrued, and thus vested, prior
to the July 31, 2016 effective date of the amended version of the PPPA, the pre-
amendment version of the PPPA applies in this case. See Horton v. GameStop,
Corp., -- F. Supp. 3d --, 2018 WL 8335635, at *2-3 (W.D. Mich. Sept. 28, 2018).
                                           2
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See Exhibit A hereto.

      3.     By renting, exchanging, or otherwise disclosing the Private Reading

Information of its Michigan-based subscribers during the relevant pre-July 30, 2016

time period, AP violated the PPPA. Subsection 2 of the PPPA provides:

            [A] person, or an employee or agent of the person,
            engaged in the business of selling at retail, renting, or
            lending books or other written materials ... shall not
            disclose to any person, other than the customer, a record
            or information concerning the purchase ... of those
            materials by a customer that indicates the identity of the
                                        3
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             customer.

PPPA § 2.

      4.      Accordingly, Plaintiff brings this Class Action Complaint against AP

for its intentional and unlawful disclosure of its customers’ Private Reading

Information in violation of the PPPA.

                            NATURE OF THE CASE

      5.      To supplement its revenues, AP rents, exchanges, or otherwise

discloses its customers’ information—including their full names, titles of

publications subscribed to, and home addresses (collectively “Private Reading

Information”), as well as myriad other categories of individualized data and

demographic information such as gender—to data aggregators, data appenders, data

cooperatives, and other third parties without the written consent of its customers.

      6.      By renting, exchanging, or otherwise disclosing – rather than selling –

its customers’ Private Reading Information, AP is able to disclose the information

time and time again to countless third parties.

      7.      AP’s disclosure of Private Reading Information and other

individualized information is not only unlawful, but also dangerous because it allows

for the targeting of particular members of society. For example, anyone could buy

a customer list provided by AP that contains the names and addresses of all women

who subscribe to Crochet! magazine and live in Detroit. Such a list is available for


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sale on the open market for approximately $130.00 per thousand subscribers listed.

      8.      While AP profits handsomely from the unauthorized rental, exchange,

and/or disclosure of its customers’ Private Reading Information and other

individualized information, it does so at the expense of its customers’ statutory

privacy rights (afforded by the PPPA) because AP does not obtain its customers’

written consent prior to disclosing their Private Reading Information.

                                    PARTIES

       9.     Plaintiff Arlene Devroy is a natural person and citizen of the State of

Michigan and resides in Port Huron, Michigan. Plaintiff was a subscriber to

Crochet! magazine, including during the relevant pre-July 30, 2016 time period.

Crochet! magazine is published by AP. While residing in, a citizen of, and present

in Michigan, Plaintiff purchased her subscription to Crochet! magazine directly from

AP. Prior to and at the time Plaintiff subscribed to Crochet!, AP did not notify

Plaintiff that it discloses the Private Reading Information of its customers, and

Plaintiff has never authorized AP to do so. Furthermore, Plaintiff was never

provided any written notice that AP rents, exchanges, or otherwise discloses its

customers’ Private Reading Information, or any means of opting out.            Since

subscribing to Crochet!, and during the relevant pre-July 30, 2016 time period, AP

disclosed, without the requisite consent or prior notice, Plaintiff’s Private Reading

Information to data aggregators, data appenders, and/or data cooperatives, who then


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supplement that information with data from their own files. Moreover, during that

same period, AP rented or exchanged mailing lists containing Plaintiff’s Private

Reading Information to third parties seeking to contact AP subscribers, without first

obtaining the requisite written consent from Plaintiff or even giving her prior notice

of the rentals, exchanges, and/or other disclosures.

       10.    Defendant Annie's Publishing, LLC is an Indiana corporation with its

headquarters and principal place of business in Berne, Indiana. AP does business

throughout Michigan and the entire United States. AP is the publisher of Annie’s

Crochet & Crafts, Annie's Quilt & Sew, Crochet World, Quilter’s World, Just

CrossStitch, Good Old Days, Country Sampler, Country Sampler Farmhouse Style

magazines in addition to Crochet! magazine.

                         JURISDICTION AND VENUE

      11.     This Court has subject matter jurisdiction over this civil action

pursuant to 28 U.S.C. § 1332(d) because there are more than 100 class members and

the aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees,

and costs, and at least one Class member is a citizen of a state different from

Defendant.

      12.     The Court has personal jurisdiction over AP because Plaintiff’s claims

arose in substantial part from actions and omissions in Michigan, including from

Plaintiff’s purchase of a Crochet! subscription in Michigan, AP’s direction of such


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Crochet! subscription into Michigan, and AP’s failure to obtain Plaintiff’s written

consent in Michigan prior to disclosing her Private Reading Information, including

her residential address in Michigan, to another person, the effects of which were felt

from within Michigan by a citizen and resident of Michigan. Personal jurisdiction

also exists over AP in Michigan because AP conducts substantial business within

Michigan, such that AP has significant, continuous, and pervasive contacts with the

State of Michigan.

      13.        Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

AP does substantial business in this judicial District and a substantial part of the

events giving rise to Plaintiff’s claims took place within this judicial District.

                             FACTUAL BACKGROUND

                   Michigan’s Preservation of Personal Privacy Act

      14.        In 1988, members of the United States Senate warned that records of

consumers’ purchases and rentals of audiovisual and publication materials offer “a

window into our loves, likes, and dislikes,” and that “the trail of information

generated by every transaction that is now recorded and stored in sophisticated

record-keeping systems is a new, more subtle and pervasive form of surveillance.”

S. Rep. No. 100-599 at 7–8 (1988) (statements of Sens. Simon and Leahy,

respectively).

      15.        Recognizing the need to further protect its citizens’ privacy rights,


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Michigan’s legislature enacted the PPPA to protect “privacy with respect to the

purchase, rental, or borrowing of certain materials,” by prohibiting companies from

disclosing certain types of sensitive consumer information. H.B. No. 5331, 1988

Mich. Legis. Serv. 378 (West).

      16.     Subsection 2 of the PPPA states:

            [A] person, or an employee or agent of the person,
            engaged in the business of selling at retail, renting, or
            lending books or other written materials . . . shall not
            disclose to any person, other than the customer, a record
            or information concerning the purchase . . . of those
            materials by a customer that indicates the identity of the
            customer.

PPPA § 2 (emphasis added).

      17.     Michigan’s protection of reading information reflects the “gut feeling

that people ought to be able to read books and watch films without the whole world

knowing,” and recognizes that “[b]ooks and films are the intellectual vitamins that

fuel the growth of individual thought. The whole process of intellectual growth is

one of privacy—of quiet, and reflection. This intimate process should be protected

from the disruptive intrusion of a roving eye.” S. Rep. No. 100–599, at 6 (Statement

of Rep. McCandless).

      18.     As Senator Patrick Leahy recognized in proposing the Video and

Library Privacy Protection Act (later codified as the Video Privacy Protection Act,

18 U.S.C. § 2710), “[i]n practical terms our right to privacy protects the choice of

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movies that we watch with our family in our own homes. And it protects the

selection of books that we choose to read.” 134 Cong. Rec. S5399 (May 10, 1988).

      19.     Senator Leahy also explained why choices in movies and reading

materials are so private: “These activities . . . reveal our likes and dislikes, our

interests and our whims. They say a great deal about our dreams and ambitions, our

fears and our hopes. They reflect our individuality, and they describe us as people.”

Id.

      20.     Michigan’s passage of the PPPA also established as a matter of law

“that a person’s choice in reading, music, and video entertainment is a private matter,

and not a fit subject for consideration by gossipy publications, employers, clubs, or

anyone else for that matter.”      Privacy: Sales, Rentals of Videos, etc., House

Legislative Analysis Section, H.B. No. 5331, Jan. 20, 1989 (attached hereto as

Exhibit B).

      21.     Despite the fact that thousands of Michigan residents subscribe to

AP’s publications, AP disregarded its legal responsibility by systematically

violating the PPPA.

                       The Private Information Market:
                 Consumers’ Private Information Has Real Value

      22.     In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

Swindle remarked that “the digital revolution . . . has given an enormous capacity


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to the acts of collecting and transmitting and flowing of information, unlike anything

we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

defined by the existing data on themselves.” 3

      23.     More than a decade later, Commissioner Swindle’s comments ring

truer than ever, as consumer data feeds an information marketplace that supports a

$26 billion dollar per year online advertising industry in the United States. 4

      24.     The FTC has also recognized that consumer data possesses inherent

monetary value within the new information marketplace and publicly stated that:

             Most consumers cannot begin to comprehend the types
             and amount of information collected by businesses, or why
             their information may be commercially valuable. Data is
             currency. The larger the data set, the greater potential for
             analysis—and profit.5

      25.     In fact, an entire industry exists while companies known as data


3
       Exhibit C, The Information Marketplace: Merging and Exchanging
Consumer Data (Mar. 13, 2001), at 8:15-11:16, available at
https://www.ftc.gov/sites/default/files/documents/public_events/information-
marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last visited
July 30, 2021).
4
        See Exhibit D, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
http://online.wsj.com/article/SB10001424052748703529004576160764037920274
.html (last visited July 30, 2021).
5
        Exhibit E, Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7,
2009),                at                 2,             available                at
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited July 30,
2021) (emphasis added).
                                          10
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aggregators purchase, trade, and collect massive databases of information about

consumers. Data aggregators then profit by selling this “extraordinarily intrusive”

information in an open and largely unregulated market. 6

      26.     The scope of data aggregators’ knowledge about consumers is

immense: “If you are an American adult, the odds are that [they] know[] things like

your age, race, sex, weight, height, marital status, education level, politics, buying

habits, household health worries, vacation dreams—and on and on.” 7

      27.     Further, “[a]s use of the Internet has grown, the data broker industry

has already evolved to take advantage of the increasingly specific pieces of

information about consumers that are now available.” 8

      28.     Recognizing the serious threat the data mining industry poses to

consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-



6
     See Exhibit F, Martha C. White, Big Data Knows What You’re Doing Right
Now, TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-
knows-what-youre-doing-right-now/ (last visited July 30, 2021).
7
       Exhibit G, Natasha Singer, You for Sale: Mapping, and Sharing, the
Consumer Genome, N.Y. Times (June 16, 2012), available at
https://www.immagic.com/eLibrary/ARCHIVES/GENERAL/GENPRESS/N12061
6S.pdf (last visited July 30, 2021).
8
       Exhibit H, Letter from Senator John D. Rockefeller IV, Chairman, Senate
Committee on Commerce, Science, and Transportation, to Scott E. Howe, Chief
Executive     Officer,     Acxiom     (Oct.     9,   2012)     available    at
http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
4157-a97b-a658c3c3061c (last visited July 30, 2021).

                                         11
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Partisan Privacy Caucus sent a letter to nine major data brokerage companies

seeking information on how those companies collect, store, and sell their massive

collections of consumer data. 9

      29.       In their letter, the co-Chairmen recognized that “[b]y combining data

from numerous offline and online sources, data brokers have developed hidden

dossiers on every U.S. consumer,” which “raises a number of serious privacy

concerns.” 10

      30.       Data aggregation is especially troublesome when consumer

information is sold to direct-mail advertisers. In addition to causing waste and

inconvenience, direct-mail advertisers often use consumer information to lure

unsuspecting consumers into various scams, 11 including fraudulent sweepstakes,

charities, and buying clubs. Thus, when companies like AP share information with

data aggregators, data cooperatives, and direct-mail advertisers, they contribute to

the “[v]ast databases” of consumer data that are often “sold to thieves by large



9
        See Exhibit I, Bipartisan Group of Lawmakers Query Data Brokers About
Practices Involving Consumers’ Personal Information, Website of Senator Ed
Markey      (July     24,     2012),   http://www.markey.senate.gov/news/press-
releases/bipartisan-group-of-lawmakers-query-data-brokers-about-practices-
involving-consumers-personal-information (last visited July 30, 2021).
10
       Id.
11
      See Exhibit J, Prize Scams, Federal Trade Commission,
http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited July 30, 2021).
                                          12
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publicly traded companies,” which “put[s] almost anyone within the reach of

fraudulent telemarketers” and other criminals. 12

      31.     Information disclosures like those made by AP are particularly

dangerous to the elderly. “Older Americans are perfect telemarketing customers,

analysts say, because they are often at home, rely on delivery services, and are lonely

for the companionship that telephone callers provide.” 13 The FTC notes that “[t]he

elderly often are the deliberate targets of fraudulent telemarketers who take

advantage of the fact that many older people have cash reserves or other assets to

spend on seemingly attractive offers.” 14 Indeed, an entire black market exists where

the private information of vulnerable elderly Americans is exchanged.

      32.     Thus, information disclosures like AP’s are particularly troublesome

because of their cascading nature: “Once marked as receptive to [a specific] type of

spam, a consumer is often bombarded with similar fraudulent offers from a host of


12
       Exhibit K, Charles Duhigg, Bilking the Elderly, With a Corporate Assist,
N.Y.        Times,        May        20,        2007,        available      at
http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July 30,
2021).
13
      Id.
14
       Exhibit L, Fraud Against Seniors: Hearing before the Senate Special
Committee on Aging (August 10, 2000) (prepared statement of the FTC), available
at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf (last
visited July 30, 2021).

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scam artists.” 15

       33.       AP is not alone in jeopardizing its subscribers’ privacy and well-being

in exchange for increased revenue: disclosing subscriber information to data

aggregators, data appenders, data cooperatives, direct marketers, and other third

parties is a widespread practice in the publishing industry.

       34.       Thus, as consumer data has become an ever-more valuable

commodity, the data mining industry has experienced rapid and massive growth.

Unfortunately for consumers, this growth has come at the expense of their most

basic privacy rights.

                 Consumers Place Monetary Value on their Privacy and
                  Consider Privacy Practices When Making Purchases

       35.       As the data aggregation and cooperative industry has grown, so too

have consumer concerns regarding the privacy of their information.

       36.       A recent survey conducted by Harris Interactive on behalf of

TRUSTe, Inc. showed that 89 percent of consumers polled avoid doing business

with companies who they believe do not protect their privacy online. 16 As a result,



15
       See id.
16
      See Exhibit M, 2014 TRUSTe US Consumer Confidence Privacy Report,
TRUSTe,                                      http://www.theagitator.net/wp-
content/uploads/012714_ConsumerConfidenceReport_US1.pdf (last visited July
30, 2021).

                                            14
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81 percent of smartphone users polled said that they avoid using smartphone apps

that they don’t believe protect their privacy online. 17

       37.     Thus, as consumer privacy concerns grow, consumers are increasingly

incorporating privacy concerns and values into their purchasing decisions and

companies viewed as having weaker privacy protections are forced to offer greater

value elsewhere (through better quality and/or lower prices) than their privacy-

protective competitors.

       38.     In fact, consumers’ private information has become such a valuable

commodity that companies are beginning to offer individuals the opportunity to sell

their information themselves. 18

       39.     These companies’ business models capitalize on a fundamental tenet

underlying the consumer information marketplace:           consumers recognize the

economic value of their private data. Research shows that consumers are willing to

pay a premium to purchase services from companies that adhere to more stringent

policies of protecting their data. 19


17
       Id.
18
       See Exhibit N, Joshua Brustein, Start-Ups Seek to Help Users Put a Price on
Their Personal Data, N.Y. Times (Feb. 12, 2012), available at
http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
price-on-their-personal-data.html (last visited July 30, 2021).
19
      See Exhibit O, Tsai, Cranor, Acquisti, and Egelman, The Effect of Online
Privacy Information on Purchasing Behavior, 22(2) Information Systems Research
                                           15
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      40.     Thus, in today’s economy, individuals and businesses alike place a

real, quantifiable value on consumer data and corresponding privacy rights. 20

AP Unlawfully Rents, Exchanges, And Discloses Its Customers’ Private Reading
                               Information

      41.     AP maintains a vast digital database comprised of its customers’

Private Reading Information.      AP discloses its customers’ Private Reading

Information to data aggregators and appenders, who then supplement that

information with additional sensitive private information about each AP customer,

including his or her gender. (See, e.g., Exhibit A).

      42.     AP then rents and/or exchanges its mailing lists—which include

subscribers’ Private Reading Information identifying which individuals purchased

subscriptions to particular magazines, and can include the sensitive information

obtained from data aggregators and appenders—to other data aggregators and

appenders, other consumer-facing businesses, non-profit organizations seeking to

raise awareness and solicit donations, and to political organizations soliciting


254, 254 (2011); see also European Network and Information Security Agency,
Study      on    monetising    privacy     (Feb.     27,     2012),    available at
https://www.enisa.europa.eu/activities/identity-and-
trust/library/deliverables/monetising-privacy (last visited July 30, 2021).
20
       See Exhibit P, Hann, et al., The Value of Online Information Privacy: An
Empirical       Investigation     (Oct.     2003)       at     2,    available    at
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&ty
pe=pdf (last visited July 30, 2021) (“The real policy issue is not whether consumers
value online privacy. It is obvious that people value online privacy.”).
                                         16
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donations, votes, and volunteer efforts. (See Exhibit A).

      43.      AP also discloses its customers’ Private Reading Information to data

cooperatives, who in turn give AP access to their own mailing list databases.

      44.      As a result of AP’s data compiling and sharing practices, companies

can purchase and/or obtain mailing lists from AP that identify AP’s customers by

their most intimate details such as their gender. AP’s disclosures of such sensitive

and private information puts consumers, especially the more vulnerable members of

society, at risk of serious harm from scammers.

      45.      AP does not seek its customers’ prior consent, written or otherwise, to

any of these disclosures and its customers remain unaware that their Private Reading

Information and other sensitive information is being rented and exchanged on the

open market.

      46.      Consumers can sign up for subscriptions to AP’s publications through

numerous media outlets, including the Internet, telephone, or traditional mail.

Regardless of how the consumer subscribes, AP never required the individual to

read or affirmatively agree to any terms of service, privacy policy, or information-

sharing policy during the relevant pre-July 31, 2016 time period. Consequently,

during the relevant pre-July 31, 2016 time period, AP uniformly failed to obtain any

form of consent from – or even provide effective notice to – its customers before

disclosing their Private Reading Information.

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      47.     As a result, AP disclosed its customers’ Private Reading Information

– including their reading habits and preferences that can “reveal intimate facts about

our lives, from our political and religious beliefs to our health concerns” 21 – to

anybody willing to pay for it.

      48.     By and through these actions, AP has intentionally disclosed to third

parties its Michigan customers’ Private Reading Information without consent, in

direct violation of the PPPA.

                       CLASS ACTION ALLEGATIONS

      49.    Plaintiff seeks to represent a class defined as all Michigan residents

who, at any point during the relevant pre-July 30, 2016 time period, had their Private

Reading Information disclosed to third parties by AP without consent (the “Class”).

Excluded from the Class is any entity in which Defendant has a controlling interest,

and officers or directors of Defendant.

      50.    Members of the Class are so numerous that their individual joinder

herein is impracticable. On information and belief, members of the Class number in

the thousands. The precise number of Class members and their identities are

unknown to Plaintiff at this time but may be determined through discovery. Class

members may be notified of the pendency of this action by mail and/or publication


21
      Exhibit Q, California’s Reader Privacy Act Signed into Law, Electronic
Frontier Foundation (Oct. 3,
2011), https://www.eff.org/press/archives/2011/10/03 (last visited July 30, 2021).
                                          18
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through the distribution records of Defendant.

      51.    Common questions of law and fact exist as to all Class members and

predominate over questions affecting only individual Class members. Common

legal and factual questions include, but are not limited to: (a) whether AP is a

“retailer or distributor” of publications (i.e., magazines); (b) whether AP obtained

consent before disclosing to third parties Plaintiff’s and the Class’s Private Reading

Information; and (c) whether AP’s disclosure of Plaintiff’s and the Class’s Private

Reading Information violated the PPPA.

      52.    The claims of the named Plaintiff are typical of the claims of the Class

in that the named Plaintiff and the Class suffered invasions of their statutorily

protected right to privacy (as afforded by the PPPA) as a result of Defendant’s

uniform wrongful conduct, based upon Defendant’s disclosure of Plaintiff’s and the

Class’s Private Reading Information.

      53.    Plaintiff is an adequate representative of the Class because her interests

do not conflict with the interests of the Class members she seeks to represent, she

has retained competent counsel experienced in prosecuting class actions, and she

intends to prosecute this action vigorously. The interests of Class members will be

fairly and adequately protected by Plaintiff and her counsel.

      54.    The class mechanism is superior to other available means for the fair

and efficient adjudication of the claims of Class members. Each individual Class

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member may lack the resources to undergo the burden and expense of individual

prosecution of the complex and extensive litigation necessary to establish

Defendant’s liability. Individualized litigation increases the delay and expense to

all parties and multiplies the burden on the judicial system presented by the complex

legal and factual issues of this case. Individualized litigation also presents a potential

for inconsistent or contradictory judgments. In contrast, the class action device

presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on

the issue of Defendant’s liability. Class treatment of the liability issues will ensure

that all claims and claimants are before this Court for consistent adjudication of the

liability issues.

                             CAUSE OF ACTION
          Violation of Michigan’s Preservation of Personal Privacy Act
                                   (PPPA § 2)

       55.    Plaintiff repeats the allegations contained in the foregoing paragraphs

as if fully set forth herein.

       56.    Plaintiff brings this claim individually and on behalf of members of the

Class against Defendant AP.

       57.    As a magazine publisher that sells subscriptions to consumers, AP is

engaged in the business of selling written materials at retail. See PPPA § 2.

       58.    By purchasing a subscription to Crochet! magazine, Plaintiff purchased


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written materials directly from AP. See PPPA § 2.

      59.    Because Plaintiff purchased written materials directly from AP, she is

a “customer” within the meaning of the PPPA. See PPPA § 1.

      60.    At various times during the pre-July 30, 2016 time period, AP disclosed

Plaintiff’s Private Reading Information, which identified her as a Crochet! customer,

in at least three ways.

      61.    First, AP disclosed mailing lists containing Plaintiff’s Private Reading

Information to data aggregators and data appenders, who then supplemented the

mailing lists with additional sensitive information from their own databases, before

sending the mailing lists back to AP.

      62.    Second, AP disclosed mailing lists containing Plaintiff’s Private

Reading Information to data cooperatives, who in turn gave AP access to their own

mailing list databases.

      63.    Third, AP rented and/or exchanged its mailing lists containing

Plaintiff’s Private Reading Information—enhanced with additional information

from data aggregators and appenders—to third parties, including other consumer-

facing companies, direct-mail advertisers, and organizations soliciting monetary

contributions, volunteer work, and votes.

      64.    Because the mailing lists included the additional information from the

data aggregators and appenders, the lists were more valuable, and AP was able to

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increase its profits gained from the mailing list rentals and/or exchanges.

      65.    By renting, exchanging, or otherwise disclosing its customer lists,

during the relevant pre-July 30, 2016 time period, AP disclosed to persons other than

Plaintiff records or information concerning her purchase of written materials from

AP. See PPPA § 2.

      66.    The information AP disclosed indicates Plaintiff’s name and address,

as well as the fact that she subscribed to Crochet!. Accordingly, the records or

information disclosed by AP indicated Plaintiff’s identity. See PPPA § 2.

      67.    Plaintiff and the members of the Class never consented to AP disclosing

their Private Reading Information to anyone.

      68.    Worse yet, Plaintiff and the members of the Class did not receive notice

before AP disclosed their Private Reading Information to third parties.

      69.    AP’s disclosures of Plaintiff’s and the Class’s Private Reading

Information during the relevant pre-July 30, 2016 time period were not made

pursuant to a court order, search warrant, or grand jury subpoena.

      70.    AP’s disclosures of Plaintiff’s and the Class’s Private Reading

Information during the relevant pre-July 30, 2016 time period were not made to

collect payment for their subscriptions.

      71.    AP’s disclosures of Plaintiff’s Private Reading Information during the

relevant pre-July 30, 2016 time period were made to data aggregators, data

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appenders, data cooperatives, direct-mail advertisers, and organizations soliciting

monetary contributions, volunteer work, and votes—all in order to increase AP’s

revenue. Accordingly, AP’s disclosures were not made for the exclusive purpose of

marketing goods and services directly to Plaintiff and the members of the Class.

      72.    By disclosing Plaintiff’s and the Class’s Private Reading Information

during the relevant pre-July 30, 2016 time period, AP violated Plaintiff’s and the

Class’s statutorily protected right to privacy in their reading habits. See PPPA § 2.

      73.    As a result of AP’s unlawful disclosure of their Private Reading

Information, Plaintiff and the members of the Class have suffered invasions of their

statutorily protected right to privacy (afforded by the PPPA). On behalf of herself

and the Class, Plaintiff seeks: (1) an injunction requiring Defendant AP to obtain

consent from Michigan customers prior to the disclosure of their Private Reading

Information as required by the PPPA; (2) $5,000.00 per Class member pursuant to

PPPA § 5(a); and (3) costs and reasonable attorneys’ fees pursuant to PPPA § 5(b).

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, seeks a judgment against Defendant as follows:

              A.    For an order certifying the Class under Rule 23 of the
                    Federal Rules of Civil Procedure and naming Plaintiff as
                    representative of the Class and Plaintiff’s attorneys as Class
                    Counsel to represent the Class;

              B.    For an order declaring that Defendant’s conduct as
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                   described herein violates the Preservation of Personal
                   Privacy Act, PPPA;

            C.     For an order finding in favor of Plaintiff and the Class on
                   all counts asserted herein;

            D.     For an award of $5,000 to Plaintiff and each Class member,
                   as provided by the Preservation of Personal Privacy Act,
                   PPPA § 5(a);

            E.     For prejudgment interest on all amounts awarded; and

            F.     For an order awarding Plaintiff and the Class their
                   reasonable attorneys’ fees and expenses and costs of suit.

                                JURY DEMAND

     Plaintiff demands a trial by jury on all causes of action and issues so triable.

Dated: August 5, 2021                 Respectfully submitted,

                                      ARLENE DEVROY,

                                      By: /s Philip L. Fraietta
                                      One of Plaintiff’s Attorneys

                                      Philip L. Fraietta (P85228)
                                      pfraietta@bursor.com
                                      BURSOR & FISHER, P.A.
                                      888 Seventh Avenue
                                      New York, New York 10019
                                      Tel: 646.837.7150
                                      Fax: 212.989.9163

                                      Counsel for Plaintiff and the Putative Class




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